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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

PHARMACY CORPORATION OF                               )
AMERICA D/B/A PHARMERICA, ET AL.                      )
                                                      )
                                                      )
                                                      )
       Plaintiffs/Judgment Creditors/Garnishors,      )   CASE NO. 1:20-CV-00447
                                                      )
v.                                                    )
                                                      )
CHAMPAIGN URBANA NURSING                              )
AND REHAB, LP, ET AL.                                 )
                                                      )
       Defendants/Judgment Debtors,                   )
                                                      )
                                                      )
v.                                                    )
                                                      )
FIRST MIDWEST BANK                                    )
                                                      )
       Garnishee.                                     )


                       ORDER ON MOTION FOR WRIT OF GARNISHMENT
                               AS TO FIRST MIDWEST BANK




       THIS MATTER, coming to be heard on motion of the Plaintiffs/Judgment

Creditors/Garnishors, Pharmacy Corporation of America d/b/a PharMerica and PharMerica Drug

Systems, LLC d/b/a PharMerica, (“PharMerica”), for Writ of Garnishment, the Court being

advised of the premises, it is hereby Ordered that:

       1.      PharMerica’s Motion for Writ of Garnishment is GRANTED.

       2.      The amount to be held to satisfy the indebtedness of Gardenview Manor, LLC

               d/b/a Gardenview Manor is $151,425.79 as of January 24, 2020.
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  3.    YOU ARE HEREBY COMMANDED, unless otherwise directed by the court, by

        the attorney of record for PharMerica, or by this writ, not to pay any debt, other

        than earnings, owed to the Defendant/Judgment Debtor Gardenview Manor, LLC

        d/b/a Gardenview Manor, at the time this writ was served and not to deliver, sell,

        or transfer, or recognize any sale or transfer of, any personal property or effects of

        Gardenview Manor, LLC d/b/a Gardenview Manor in your possession or control

        at the time when this writ was served. Any such payment delivery, sale, or

        transfer is void to the extent necessary to satisfy PharMerica’s claim and costs for

        this writ with interest.

  4.    YOU ARE FURTHER COMMANDED to answer the attached writ, within

        twenty (20) days after the service of the writ upon you, by:

        (a) Producing documents responsive to the attached Writ of Garnishment by

        mailing or delivering the original of such answer to the court, one copy to the

        plaintiff or the plaintiff’s attorney, and one copy to the defendant;

        (b) Filing Answers to the attached Garnishment Interrogatories.

  5.    If you owe the defendant a debt payable in money in excess of the amount set

        forth in the first paragraph of this writ, hold only the amount set forth in the first

        paragraph and any processing fee if one is charged and release all additional funds

        or property to the defendant.

  6.    IF YOU FAIL TO ANSWER THIS WRIT AS COMMANDED, A JUDGMENT

        MAY BE ENTERED AGAINST YOU FOR THE FULL AMOUNT OF THE

        PLAINTIFF’S CLAIM AGAINST THE DEFENDANT WITH ACCRUING

        INTEREST, ATTORNEY FEES, AND COSTS WHETHER OR NOT YOU



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        OWE ANYTHING TO THE DEFENDANT. IF YOU PROPERLY ANSWER

        THIS WRIT, ANY JUDGMENT AGAINST YOU WILL NOT EXCEED THE

        AMOUNT OF ANY NONEXEMPT DEBT OR THE VALUE OF ANY

        NONEXEMPT PROPERTY OR EFFECTS IN YOUR POSSESSION OR

        CONTROL

  7.    JUDGMENT MAY ALSO BE ENTERED AGAINST THE DEFENDANT FOR

        COSTS AND FEES INCURRED BY THE PLAINTIFF.



  Dated: 1/30/2020             __________________________________________
                                 The Honorable Judge Sharon Johnson Coleman
                                  U.S. District Court of Northern Illinois




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